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                    IN THE UNITED STATE DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF MICHIGAN


    ROVER PIPELINE LLC,                            Case No. 2:17-cv-10365

                       Plaintiff,
                                                   Hon. Mark A. Goldsmith
          v.
                                                   Mag. Judge Mona K. Majzoub
    1.23 ACRES OF LAND, MORE OR LESS,
    PERMANENT EASEMENT (PIPELINE
    RIGHT-OF-WAY SERVITUDE), AND 3.74
    ACRES OF LAND, MORE OR LESS,
    TEMPORARY WORK SPACE, IN
    LENAWEE COUNTY, MICHIGAN, Office
    of the Lenawee County Drain Commissioner
    Tract No. MI-LE-004.000,
    AND UNKNOWN OWNERS, et al.

                       Defendants.


         DEFENDANTS ELAINE SIMCHECK, MICHAEL SIMCHECK, AND
     MEADOWBROOK ACRES INC.’S RESPONSE IN OPPOSITION TO PLAINTIFF
     ROVER PIPELINE LLC’S MOTION IN LIMINE TO PRECLUDE TESTIMONY
        FROM ANY SIMCHECK OR MEADOWBROOK WITNESS BASED ON
       DOCUMENTS NOT DISCLOSED IN THE COURSE OF DISCOVERY, TO
    EXCLUDE THE EXPERT REPORTS AND TESTIMONY OF AARON HATHAWAY
       AND DOUGLAS K. HODGE, AND TO PRECLUDE INTRODUCTION OF
      EVIDENCE NOT DISCLOSED IN THE COURSE OF DISCOVERY (dkt. 880)
                                          AND
                           REQUEST FOR ORAL ARGUMENT




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     NOW COME Defendants, Michael and Elaine Simcheck, and Meadowbrook Acres Sod

  Farm, Inc., by and through their Attorney, Law Office of William J. McHenry, p.c., and for their

  response to Plaintiff Rover’s Motion in Limine to Preclude Testimony from any Simcheck or

  Meadowbrook Witness Based On Documents Not Disclosed In The Course Of Discovery, To

  Exclude The Expert Reports And Testimony Of Aaron Hathaway And Douglas K. Hodge, And

  To Preclude Introduction Of Evidence Not Disclosed In The Course Of Discovery, states as

  follows:

     1. Admit that Defendants attempted to contact Plaintiff’s Counsel electronically on

         September 5, 2018 and that a phone conversation took place the following day regarding

         this motion.

     2. Defendants do not contest for purposes of this motion.

     3. Defendants do not contest.

     4. Defendants admit the only issue to be resolved as to these Defendants is the amount of

         just compensation that Rover must pay Defendants for its taking of the easements and

         properties in questions.

     5. The Simcheck Defendants admit their Initial Disclosures were made on June 1, 2017.

     6. Defendants do not contest that Rover served the Simcheck Defendants with

         interrogatories and requests for production of documents seeking information concerning

         their damages claim. Defendants made detailed answers to interrogatories and provided

         detailed information in response to their request for production of documents and things,

         as well as objections to Plaintiff’s discovery requests. Plaintiff never filed a motion to

         compel or for any other relief from the Court regarding the Simcheck’s discovery




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        responses prior to the instant motion, and Counsel generally worked well and cooperated

        on scheduling and other matters.

     7. Admit the Simcheck Defendants identified their independently retained experts, as well

        as identifying Defendant Michael Simcheck and Paul Simcheck Jr. as experts.

     8. Admit Defendant Meadowbrook was added on April 3, 2018.

     9. Defendants do not contest that interrogatories and requests to produce were served upon

        Defendant Meadowbrook on or about April 6, 2018.

     10. Defendants do not contest that additional requests to produce were served upon

        Defendant Meadowbrook on or about April 16, 2018.

     11. Defendants do not contest.

     12. Admit Michael Simcheck and Paul Simcheck were deposed on July 12th and 13th, 2018.

     13. Deny that prior to the depositions “only four Meadowbrook customer invoices were

        produced to Rover” because same is not true as stated. All relevant data relating to

        Meadowbrook’s invoices to customers for the years 2016 and 2017 was produced to

        Rover no later than February 6, 2018.

     14. Deny that Defendants had not produced all of the 2016 and 2017 customer invoices in

        their possession, custody or control.

     15. The undersigned admits that he agreed to produce all of Meadowbrook’s customer

        invoices at the deposition of Paul Simcheck on July 13, 2018. This was on agreed upon in

        response to Rover’s counsel, Nikoe Canute, representing her belief that Defendants had

        not received all of the relevant data regarding customer invoices. However, it later

        became clear that Rover was simply requesting the same information which had already

        been produced, but in a different form.



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     16. On January 24, 2018, the Undersigned Counsel served upon Plaintiff’s what he believed

        to be all information requested by Rover via Defendants’ Quickbooks Account including

        approximately 9,500 of financial records from 2011 forward. Defendants use

        Quickbooks for all of their financial transactions including invoicing customers,

        transactions, dates of transactions, products and services rendered, memos and

        descriptions for the product and services, quantities of the product and services, the sales

        prices, and the balances. These Quickbook accounts also included balance sheets for

        current assets, bank accounts, checking accounts, savings accounts, accounts receivable,

        total accounts receivable, other current assets, loans, fixed assets, depreciation, furniture

        and fixtures, land, machinery and equipment, depreciation by year, office equipment,

        total vehicles, total fixed assed, liabilities and equity (Ex. A - Quickbooks Report

        Excerpt). Note that the attached Exhibit A is only demonstrative of the type and scope of

        information provided, but not comprehensive in any way.

               The link sent to Rover was Defendants’ actual Quickbooks Online Plus records

        which are generated in the process of running of their business operations and

        maintaining records thereof. The information contained therein was meticulously

        detailed financial disclosure which included income and expenses, invoicing and

        payments, enhanced payroll, sales and sales tax, bills and payments. The link was sent to

        Rover because Rover’s request, which was objected to by the Defendants, was so overly

        broad and unduly burdensome that it became clear it would be easier to provide Rover

        complete access to what Defendants use regarding their business operations and

        expenses. The Undersigned Counsel has never used Quickbooks before, but understood

        that it this included everything that Rover was requesting, including invoices. For



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        example, the “four invoices” that Rover references in the instant motion came were

        created entirely on exported Quickbooks data—as is the case for every single invoice

        generated by Meadowbrook for its business operations. At all times since February 6,

        2018, Rover had every opportunity to observe this fact. In fact, to the best of the

        Undersigned Counsel’s knowledge, every shred of information on the “invoices” in

        question was contained in the reports in the original Quickbooks link provided to Rover

        in January 2018. All of the data requested by Rover was contained and was accessible

        from the Quickbooks link provided to Rover, including Customer “invoices”. They are

        generated from Quickbooks, and this is how customers were invoiced. The reports

        contained the same information.

               Subsequently, in September 2018, based upon continuing complaints from Nikole

        Canute, Defendants’ Accountant, Doug Heinze, went back into Quickbooks to generate

        approximately 2000 pages of “Invoices”. These were printed from individual PDF files

        which the Undersigned Counsel believes to be exported from the same records which

        Rover accessed using in the original Quickbooks link. All of the data which was

        generated from Quickbooks, already in Rover’s possession no later than February 6,

        2018, the date Rover produced a disk of “Documents produced from Meadowbrook

        acres, Inc. via Quickbooks” dated the same date. (Ex. B - Disk)

     17. Denied. Upon information and belief, all of the information reviewed and relied upon by

        Defendants’ Appraisal Expert, Doug Hodge, is contained in his Appraisal Report (Ex. C

        – Appraisal Report of Doug Hodge). The only other information in Doug Hodge’s file

        included documents obtained from Rover and filings in this case including Rover’s initial

        offer to acquire easements, Rover’s appraisal, the Notice of Action regarding the



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        Pipeline, Defendant’s Answer to Complaint, Affirmative Defenses and Jury Demand, the

        Permanent easement agreement, Temporary road agreement, right-of-way cost

        assessment, Defendants’ license agreement with ITC and the Simchecks’ property

        diagram, which were sent by way of email on May 22, 2017 (Ex. D – Email to Doug

        Hodge). All of these documents were in the possession of Rover, were pleadings in this

        case, or were obtained from Rover.

                In further response, Aaron Hathaway, Defendants’ Sod and Soil Expert, a

        professor at Michigan State University, produced all of his information, including

        photographs, in his Report. He hasn’t taken any soil samples, he hasn’t done any testing,

        he has been waiting for the project to be completed. Other than some additional

        photographs, there are no additional files and his opinions have not changed. The only

        other documents in Aaron Hathaway’s “file” would be the Rover’s Complaint, Defendant

        Simcheck’s Answer, Affirmative Defenses and Jury Demand, Plaintiff’s Initial

        Disclosures and Defendant Simcheck’s Initial Disclosures, sent by way of email on

        August 28, 2017 (Exhibit E – Email to Aaron Hathaway). In other words, only things

        that are already in Rover’s possession.

     18. Defendants do not dispute the requirements of the Federal Rules of Civil Procedure.

        Defendants deny that any evidence should be precluded under these circumstances

        because there was no failure to produce evidence. Even if there was, said failure would

        be “harmless” because Defendants already had such information, and are arguing purely

        about form over substance—namely the form of the Quickbooks invoice data which was

        provided by to Rover was apparently unsatisfactory to them. However, Rover has

        repeatedly represented it as an issue of substance, on the basis of their unfounded claims



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         that individual customer invoices contain data which was not already produced through

         Quickbooks.

     19. Defendants agree both parties are required to follow Rule 26(a).

     20. Defendants do not contest.

     22. Denied for the reasons stated herein.

     23. Defendants admit that the Court may exclude relevant evidence if its probative value is

         substantially outweighed by the danger of unfair prejudice. Rule 403.

     24. Denied for the reasons stated herein. Every single thing the Defendants are relying on

         has been produced to Rover in one format or another. The Invoices sent to Defendants’

         customers are generated from Quickbooks, and were demonstrably in Rover’s possession

         no later than February 6, 2018. Defendants’ subsequently produced nearly 2,000 pages of

         invoices also came from Quickbooks. Rover never informed the Court that Defendants

         provided access to 10,000 pages of financial records from the Defendants which Rover

         obtained from the Quickbooks link. Nor does Rover mention that the invoices

         themselves could be contained in the same Quickbooks information provided as early as

         January 24, 2018, and subsequently accessible throughout this calendar year



                                         RELIEF REQUESTED

         WHEREFORE, Defendants respectfully request this Honorable Court deny Plaintiff

  Rover’s Motion and grant Defendants Request for Oral Arguments, together with such other

  reliefs as this Honorable Court deems just and necessary.

                                                      Respectfully submitted by:

                                                      /s/ William J. McHenry
                                                      WILLIAM J. McHENRY(P38458)


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  Dated: September 28, 2018




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                   DEFENDANTS BRIEF IN OPPOSITION TO
      PLAINTIFF ROVER PIPELINE LLC’S MOTION IN LIMINE TO PRECLUDE
   TESTIMONY FROM ANY SIMCHECK OR MEADOWBROOK WITNESS BASED ON
   DOCUMENTS NOT DISCLOSED IN THE COURSE OF DISCOVERY, TO EXCLUDE
      THE EXPERT REPORTS AND TESTIMONY OF AARON HATHAWAY AND
   DOUGLAS K. HODGE, AND TO PRECLUDE INTRODUCTION OF EVIDENCE NOT
             DISCLOSED IN THE COURSE OF DISCOVERY (Dkt. 880)


     COUNTER-STATEMENT OF ISSUES PRESENTED PER LOCAL RULE 7.1(D)(2)

     1. Whether Defendants Michael Simcheck, Elaine Simcheck and Meadowbrook Acres, Inc.
        should be precluded from offering into evidence, inquiring into, or otherwise eliciting any
        evidence—whether documentary or as testimony, remarks, questions, or arguments—that
        is based on information which was timely disclosed to Rover, but was not in Rover’s
        preferred format, even though the format requested would have demonstrably and
        substantively more burdensome for Rover or its expert to use?

     Simcheck Defendants and Meadowbrook Acres, Inc. Answer “No"

     2. Whether the expert witness reports of Douglas K. Hodge and Aaron Hathaway should be
        excluded and Mr. Hodge and Mr. Hathaway precluded from testifying at hearing/trial in
        this matter, due to Defendants Michael Simcheck’s, Elaine Simcheck’s and
        Meadowbrook Acres, Inc.’s failure to confirm in writing that said experts did not have
        any relevant work files apart from those contained in their reports, and even though
        Rover never even bothered to depose either expert?

     Simcheck Defendants and Meadowbrook Acres, Inc. Answer “No"




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       CONTROLLING OR MOST APPROPRIATE AUTHOIRTY FOR THE RELIEF
                    SOUGHT PER LOCAL RULE 7.1(D)(2)

   Simcheck Defendants and Defendant Meadowbrook Acres, Inc. submit that the key authorities
   supporting their responses to the instant Motions are:

   Fed. R. Civ. Pro. 26(b)(2)(C)(i) and (ii)

   FED. R. CIV. P. 37(c)(1)




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   Statement of Facts

           Defendants incorporate by reference the facts as stated in paragraphs 1-24 of Plaintiff’s

   Motion as though fully set forth herein.

                                               ARGUMENT

           Rover’s motion requesting severe sanctions against Defendants is based on the following

   representations of fact: (a) Defendants allegedly failed to produce information which is in whole

   or part the basis for their damages calculations, (b) Defendants allegedly failed to produce

   substantive expert work files to Rover and, (c) these failures have caused and will cause substantial

   prejudice to Plaintiffs ability to prepare for trial in this matter. Each of the above are either entirely

   false, or otherwise based on a misunderstanding or misrepresentation of the factual record.

   Furthermore, to the degree that any part of Rover’s claims in these motions could be construed as

   factual, the reasons are substantially justified and the result is clearly harmless—rendering any

   sanctions under Fed. R. Civ. Pro. 37(a)(1) without reasonable justification.

           Defendants respectfully submit that they have already produced to Rover all documents

   and things in their custody or control to support their claims for just compensation in this case.

   Defendants have also provided a computation of each category of damages claimed in this matter

   and made available documents and things which support these damages including the report of

   Aaron Hathaway (Sod and Soil Expert), Report of Doug Hodge (Appraiser), photographs of the

   farm, aerial photographs of the farm at various stages of the project, Answers to Interrogatories,

   Reponses to Requests to Produce, the testimony of Defendant Michael Simcheck, and Paul

   Simcheck, the President of Meadowbrook, the value of the loss crops per yard, calculated using

   actual sod prices from places like Home Depot, and Lowe’s, and other documents and things

   including:



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          1. Quit Claim Deed- Meadowbrook Acres Sod Farm, LLC (M.A.S.F., LLC)
          2. Vanguard Title Work
          3. Temporary Road Agreement Exhibit A, Only
          4. Permanent Easement Agreement Exhibit A, Only
          5. Warranty Deed of M.A.S.F., LLC
          6. ITC License Agreement for M.A.S.F., LLC
          7. Invoices regarding Sod sales and prices
          8. Competitor Sod prices and sales
          9. Simcheck’s personal tax returns 2012-2016
          10. Meadowbrook tax returns 2011-2016
          11. Equipment inventory
          12. Equipment photos
          13. Equipment Titles
          14. Aerial photos
          15. Quickbook Link documents containing over 9,500 pages of Meadowbrook Acres,
              Inc.’s business and financial records
   Invoices

          Plaintiff’s objection to the “invoices” is a matter of form and format over substance. For

   example, the “four invoices” which Rover references in its motion were produced early in the

   case, prior to the addition of Meadowbrook to the case and the subsequent production of

   Quickbooks data. These were meant to serve as demonstrative examples of Defendants’ sod

   farming and installation business general pricing and customer base. At all times subsequent to

   receiving nearly the entirety of all Meadowbrook business and financial records, Rover had the

   opportunity to examine these invoices in comparison with the information already in their

   possession. They would have found that the invoice number, job description, quantity, the rate

   charged and the totals contained on the invoice—the only relevant information contained in the

   invoice—matches exactly with the same information for the matching invoice number found in

   Quickbooks (Ex. F – Individual Invoices Matched to Quickbooks Data). In other words,

   Defendants believed it had produced all of the relevant information to Rover via its Quickbook

   link. The subsequent 2000 pages of invoices all contain the same information, and is thus an

   entirely unnecessary request, which is why the Quickbooks link was originally provided to begin



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   with. Therefore, all of this information has been provided in one form or another, and to the

   extent Rover didn’t like the format, it is harmless and there is no prejudice because the

   information contained in each one of the invoices, by invoice number, and by date, was in the

   Quickbooks link provided to Rover.

   Expert Work Files

                  The Undersigned Counsel also contacted its expert, Aaron Hathaway, to make

   sure there are no additional materials in his file outside of his report. There are apparently some

   photographs taken some time after his expert report was produced which were taken by Aaron

   Hathaway which will be produced without objection. However, there were no other tests, soil

   samples, computations, reports or other documents or things other than what is already in the

   possession of Rover, and contained in Aaron Hathaway’s Report. (Ex. G – Expert Report of

   Aaron Hathaway).

                                           RELIEF REQUESTED

          WHEREFORE, Defendants respectfully request this Honorable Court deny Plaintiff

   Rover’s Motion and grant Defendants Request for Oral Argument, together with such other

   reliefs as this Honorable Court deems just and necessary.

                                                         Respectfully submitted by:

                                                         /s/ William J. McHenry
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   Dated: September 28, 2018




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                                 CERTIFICATE OF SERVICE

           I, Michael J. McHenry, certify that on September 28, 2018, I served a copy of the
   forgoing document on all attorneys of records via the USDC CM/ECF electronic filing which
   will send notice to all interested parties.

                                                            /s/ Michael J. McHenry
                                                                           Michael J. McHenry




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